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                         UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION
In Re:                                           )     Chapter 13
Foday Veer Singhateh                             )     Case No. 17-60113 - JRS
aka Foday V. Singhateh                           )     Judge James R. Sacca
                                                 )
                             NOTICE OF APPEARANCE AND
                           REQUEST FOR SERVICE OF PAPERS

       Pursuant to Bankruptcy Rules 2002 and 9010, the undersigned attorney enters this Notice
of Appearance on behalf of Nationstar Mortgage LLC, its successors or assigns (hereinafter
referred to as “Creditor”), a secured creditor in the above referenced case on real property
located at 4466 Pipemaker Bluff, Douglasville, GA 30135. Creditor, through counsel, hereby
requests that all notices to Debtor(s) or Creditors also be mailed in care of Creditor as follows:

                               Shapiro Pendergast & Hasty, LLP
                               211 Perimeter Center Parkway, N.E., Suite 300
                               Atlanta, GA 30346


Date: June 13, 2017                                   Shapiro Pendergast & Hasty, LLP

                                                      /s/ Lucretia L. Scruggs
                                                      Lucretia L. Scruggs
                                                      Georgia Bar No. 371008
                                                      211 Perimeter Center Parkway, NE
                                                      Suite 300
                                                      Atlanta, GA 30346
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